                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                                   GRAND JURY H-21-1


UNITED STATES OF AMERICA                         CRIMINAL NO. 3:22CR110 (V AB) (SDV)

                      V.                         VIOLATIONS:

MARAT MUSTAFAEV,                                 18 u.s.c. § 371
STANISLAV ROMANYUK,                              (Conspiracy)
V AD IMS ANANICS,
JANIS UZBALIS,                                   50 u.s.c. § 4819
ERIKS MAMONOVS,                                  (Violation of Export Control Reform Act)
DINARA MUSTAFAEVA,
SAPPHIRE UNIVERSAL, LLP,                         18 u.s.c. § 554
CNC WELD, and                                    (Smuggling Goods from the United States)
BY TRADE OU
                                                 18 U.S.C. § 1001
                                                 (False Statements)

                                                 18 u.s.c. § 2
                                                 (Aiding and Abetting, and Causing an Act To
                                                 Be Done)

                                                 18 u.s.c. § 1956(h)
                                                 (International Money Laundering
                                                 Conspiracy)

                             SUPERSEDING INDICTMENT

    The Grand Jury charges that:

                               GENERAL ALLEGATIONS

    At all times relevant to this Superseding Indictment, the following circumstances pertained:




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                   Background on the Export Control Reform Act of2018

        1.     The Export Control Reform Act of 2018 ("ECRA") provides, among its stated

policy objectives, that "[t)he national security and foreign policy of the United States require that

the expo1i, reexport, and in-country transfer of items, and specific activities of United States

persons, wherever located, be controlled . . .. " 50 U.S.C. § 4811(2). To that end, the ECRA grants

the President the authority to "control ( 1) the export, reexport, and in-country transfer of items

subject to the jurisdiction of the United States, whether by United States persons or by foreign

persons; and (2) the activities of United States persons, wherever located, relating to" specific

categories of items and activities. 50 U.S.C. § 4812(a)(l)-(2). The ECRA further grants the

Secretary of Commerce the authority to establish the applicable regulatory framework.

       2.      Pursuant to that authority, the United States Depaiiment of Commerce reviews and

controls the export of certain items, including commodities, software, and technologies, from the

United States to foreign destinations through the Export Administration Regulations ("EAR"), 15

C.F .R. §§ 73 0-774. In particulai·, the EAR restrict the expmi of items that could make a significant

contribution to the military potential of other nations or that could be detrimental to the foreign

policy or national security of the United States. The EAR impose licensing and other requirements

for items subject to the EAR to be lawfully exported from the United States or lawfully reexpo1ied

from one foreign destination to another.

        3.     The most sensitive items subject to EAR controls are identified on the Commerce

Control List ("CCL"), published at 15 C.F.R. § 774, Supp. No. 1. Items on the CCL are categorized

by an Exp01i Control Classification Number ("ECCN"), each of which has export control

requirements depending on destination, end use, and end user.

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       4.        It is unlawful for a person to willfully violate, attempt to violate, conspire to violate,

or cause a violation of any license, order, regulation, or prohibition issued under the ECRA. 50

U.S.C. § 4819.

       5.        The 500 Series CPWZ Precision Jig Grinder (hereinafter "Jig Grinder") was subject

to the EAR and classified as ECCN 2B201.c. for nuclear nonproliferation reasons. The Jig Grinder

is a high-precision grinding machine system that is controlled by means of a computer, and it is

capable of generating a wide variety of ground holes, contours, and surfaces through the combined

motion of multiple programmable axes to a position accuracy of 2.5 microns. The Jig Grinder did

not require a license for export to Latvia, but it did require a license for export and reexport to

Russia, because of the Jig Grinder's potential application in nuclear proliferation and defense

programs.

                                    Export and Shipping Records

       6.        Pursuant to United States law and regulation, exporters and shippers or freight

forwarders were required to file certain forms and declarations concerning exports of goods and

technology from the United States. Typically, those filings were filed electronically through the

Automated Export System ("AES") administered by the United States Department of Homeland

Security ("DHS"), Customs and Border Protection. A Shipper's Export Declaration ("SED") was

an official document submitted to DHS in connection with export shipments from the United

States. These forms were used by the United States Bureau of the Census to collect trade statistics

and by the United States Department of Commerce, Bureau of Industry and Security ("BIS") for

export control purposes.



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       7.        BIS Form 71 1 was submitted to the United States Department of Commerce by

exporters, shippers, and freight forwarders and required the identification of the end user and end

use of goods being exported from the United States. Eve1y BIS Fonn 711 included a certification,

which must be adopted by the exporter, shipper, or freight forwarder who prepared and signed the

form, that all of the facts in the BIS Form 711 are true and correct. The BIS Form 711 specifically

advised that the provision of false information on the form could result in possible criminal

penalties.

       8.        A material pait of these export filings was information concerning the end user or

ultimate destination of the export. The identity of the end user, in addition to other inf01mation,

was used to determine whether the goods could be exported without any specific authorization

from the United States government; whether the goods could be expo1ted with a specific

authorization or license from the United States Department of Commerce, the United States

Department of State, or the United States Depaitment of Treasury; or whether the goods could not

be exported from the United States under any circumstances.

       9.        Statements made on these export filings were statements to the United States

government that the transaction occurred as described.

                         Relevant Individuals, Companies, and Defendants

        10.      The following individuals, companies, and defendants are relevant to this

Superseding Indictment:

       a. the defendant MARAT MUSTAFAEV is a citizen of Russia;

       b. the defendant STANISLA V ROMANYUK is a citizen of Ukraine and a resident of

              Estonia;

                                                  4
       c. the defendant VADIMS ANANICS is a citizen of Latvia;

       d. the defendant JANIS UZBALIS is a citizen of Latvia;

       e. the defendant ERIKS MAMONOVS is a citizen of Latvia;

       f.    the defendant DINARA MUSTAFAEVA is a citizen of Russia;

       g. the defendant SAPPHIRE UNIVERSAL, LLP is a corporation established in the

             United Kingdom and Latvia, registered in the Marshall Islands, and under the control

             of MARAT MUSTAFAEV;

       h. the defendant CNC WELD is a corporation established in Riga, Latvia, whose Director

             is MAMONOVS and whose President is ANANICS;

       1.    the defendant BY TRADE OU, is an Estonian company established by ROMANYUK,

             whose nominal director is Individual A, a citizen of Estonia whose identity is known

             to the Grand Jury;

       J.    Company A is a United States corporation with offices in the District of Connecticut,

             who is known to the Grand Jury and who is not a named defendant, and is the

             manufacturer and seller of the Jig Grinder; and

       k. Company B is a Russian company with offices in Moscow, who is known to the Grand

             Jury and who is not a named defendant.

                                  Licensing Requirements and Status

       11.      At no time did MARAT MUSTAFAEV, ROMANYUK., ANANICS, UZBALIS,

MAMONOVS, DINARA MUSTAF AEV A, SAPPHIRE UNIVERSAL, LLP, CNC WELD, or BY

TRADE OU apply for, receive, or possess a license or authorization from the United States

Department of Commerce to expo1t or reexport the Jig Grinder to Russia.

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          12.      Based on CNC WELD's and MAMONOVS's false representations that, among

other things, the Jig Grinder would be used by CNC WELD in Latvia, the United States

Department of C01mnerce determined that no license was required to export the Jig Grinder to

Latvia.

                                              COUNT ONE
                                               (Conspiracy)

          13.      Paragraphs 1 to 12 are incorporated herein by reference.

          14.      From at least sometime in 2018, the exact date being unknown to the Grand Jury,

and continuing thereafter until on or about the date of this Superseding Indictment, in the District

of Connecticut and elsewhere, the defendants MARAT MUSTAFAEV, ROMANYUK,

ANANICS, UZBALIS, MAMONOVS, DINARA MUSTAFAEVA, SAPPHIRE UNIVERSAL,

LLP, CNC WELD, and BY TRADE OU, together with others both known and unknown to the

Grand Jury, did knowingly combine, conspire, confederate, and agree to commit offenses against

the United States, that is,

          a. To willfully cause to be exported and reexported the Jig Grinder from the United States

                to Russia without first having obtained the required license or authorization from the

                United States Department of Commerce, in violation of Title 50, United States Code,

                Section 4819 and Title 15, Code of Federal Regulations, Sections 736.2 and 764.2;

          b. To knowingly export and send from the United States the Jig Grinder contrary to Jaw

                and regulation of the United States, and to facilitate the transportation, concealment,

                and sale of the Jig Grinder, prior to exportation, knowing the same to be intended for

                exportation contrary to law and regulation, in violation of Title 18, United States Code,

                Section 554; and
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       c. To defraud the United States Department of Commerce by interfering with and

             obstructing a lawful government function, that is, the enforcement of laws and

             regulations prohibiting the export and supply of goods from the United States to

             restricted parties and foreign destinations without a license or authorization, by deceit,

             craft, trickery, and dishonest means.

                                     Objects of the Conspiracy

       15.      The objects and purpose of the conspiracy was for the defendants and others known

and unknown to the Grand Jury:

       a. To cause others to export and reexport, and aid, abet, counsel, command, and induce

             the export and reexport, from the United States to Russia of the Jig Grinder, a dual-use

             item controlled on the CCL, without first having obtained a license or authorization

             from the United States Department of Commerce to do so, as required by the ECRA

             and the EAR;

       b. To obtain the Jig Grinder, a dual-use export-controlled item that could be used for

             nuclear proliferation in Russia, by filing and causing the filing of false documents with

             the United States Department of Commerce; and

       c. To enrich members of the conspiracy through, among other things, the procurement of

             the Jig Grinder, a dual-use export-controlled item, for Company B in Russia.

                               Manner and Means of the Conspiracy

       16.      The manner and means by which the defendants and others known and unknown to

the Grand Jury sought to accomplish and did accomplish the objects and purposes of the conspiracy

included the following:

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a. It was part of the scheme that MARAT MUSTAF AEV sent electronic communications

   to Russian companies offering his company SAPPHIRE UNIVERSAL, LLP as a

   conduit for obtaining commodities that were restricted and controlled for export to

   Russia because SAPPHIRE UNIVERSAL, LLP had a presence in Latvia and there

   were less restrictions on items exported to Latvia;

b. It was further part of the scheme that Company B, a Russian company known to the

   Grand Jmy, contracted with BY TRADE OU, who in turn, contracted with SAPPHIRE

   UNIVERSAL, LLP to obtain the Jig Grinder, a dual-use export-controlled item, from

   the United States to be transported to Latvia and then Estonia and finally to Russia, on

   Company B's behalf;

c. It was further part of the scheme that Company B provided funds for the purchase of

   the Jig Grinder by wire-transferring funds first to BY TRADE OU, which then wire-

   transferred funds to SAPPHIRE UNIVERSAL, LLP;

d. It was further part of the scheme that SAPPHIRE UNIVERSAL, LLP paid a Latvian

   company, CNC WELD, to act as the purported purchaser of the Jig Grinder, with

   SAPPHIRE UNIVERSAL, LLP financing the purchase;

e. It was further part of the scheme that after MAMONOVS declared to the United States

   Department of Commerce that the Jig Grinder would not be reexported from Latvia,

   representatives of CNC WELD and SAPPHIRE UNIVERSAL, LLP travelled to the

   District of Connecticut to finalize the purchase of the Jig Grinder;




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     f.    It was further part of the scheme that once the Jig Grinder was shipped from the United

           States to Latvia, CNC WELD canceled the purchase contract and directed its rights to

           the item to SAPPHIRE UNIVERSAL, LLP;

     g. It was further part of the scheme that SAPPHIRE UNIVERSAL, LLP attempted to

           reexport the Jig Grinder from Latvia to Russia without having obtained the required

           license or authorization from the United States Department of Commerce;

     h. It was further part of the scheme that once an investigation was commenced by Latvian

           authorities into the reexport of the Jig Grinder, ANANICS, UZBALIS, and

           MAMONOVS provided false statements to Latvian authorities; and

     i.    It was further part of the scheme that once knowledge of a United States investigation

           into the smuggling of the Jig Grinder had been initiated and requests for interviews in

           Latvia and Estonia had been made through Mutual Lateral Assistance Treaty requests,

           ANANICS, UZBALIS, and MAMONOVS made false statements to Latvian law

           enforcement authorities and ROMANYUK made and caused another to make false

           statements to law enforcement authorities in Estonia, including false statements about

           the reasons the Jig Grinder was purchased, Company B's identity as the end user of the

           Jig Grinder, and the roles of the co-conspirators in the conspiracy.

                                           Overt Acts

     17.      In furtherance of the conspiracy and in order to effect the objects thereof, the

defendants MARAT MUSTAFAEV, ROMANYUK, ANANICS, UZBALIS, MAMONOVS,

DINARA MUSTAFAEVA, SAPPHIRE UNIVERSAL, LLP, CNC WELD, and BY TRADE OU,



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and their co-conspirators, did commit, among others, the following overt acts in the District of

Connecticut and elsewhere:

       a. On or about November 21, 2018, a Russia-based company controlled by MARAT

           MUSTAFAEV and known to the Grand Jury, wire transferred € 3,200.00

           (approximately USD $3,458) from a Russian bank account to CNC WELD with the

           memorandum "Advance Payment for the Invoice."

       b. On or about April 11, 2019, BY TRADE OU sold a Jig Grinder to Company B, a

           Russian company known to the Grand Jury, for € 1,400,000 (approximately USD

           $1,548,292). The Jig Grinder BY TRADE OU was selling was the same Jig Grinder

           that CNC WELD contemporaneously had initiated the purchase of from Company A,

           an American company to the Grand Jury.

       c. On or about April 18, 2019, Company B made a payment of€ 710,000 (approximately

           USD $767,332) from a Russian bank account to BY TRADE OU bank account

           XXXX:XXXXXXXXXXXX7227 as the first agreed-upon payment in the contract for

           the sale/purchase of the Jig Grinder.

       d. On or about April 26, 2019, MAMONOVS, as Director of CNC WELD, signed letters

           that were to be submitted to the United States Department of Commerce stating that

           the ultimate destination for the Jig Grinder was Riga, Latvia and that the Jig Grinder

           would not be resold.

       e. On or about May 24, 2019 and May 29, 2019, Company A and SAPPHIRE

          UNIVERSAL, LLP signed a contract for the sale of the Jig Grinder for a price of USD

          $815,616. Among other things, the contract provided that for export-controlled items

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     Company A "will submit the export license application to the US Department of

     Commerce on behalf of the end user and will use [its] best efforts to assist in securing

     such a license for the end user."

f.   On or about June 7, 2019, DINARA MUSTAFAEVA telephoned a representative of

     Company A asking for Company A's bank information for the initial wire transfer of

     the Jig Grinder purchase price.

g. On or about June 18, 2019, Company A submitted a license application to the United

     States Department of Commerce for the expo1i of the Jig Grinder to Latvia. Included

     in the application were letters addressed to the United States Department of Commerce

     signed by MAMONOVS as Director of CNC WELD. In these letters, MAMONOVS

     represented that CNC WELD in Latvia was the end user of the Jig Grinder and that it

     would not sell or reexport the Jig Grinder to another country without the prior written

     authorization of the United States Department of Commerce.

h. Between on or about June 10, 2019 and on or about November 7, 2019, SAPPHIRE

     UNIVERSAL, LLP initiated four wire transfers to Company A for the purchase of the

     Jig Grinder for a total of 95% of the purchase price: (1) € 222,441.00 (approximately

     USD $248,221) on or about June 10, 2019; (2) € 300,000.00 (approximately USD

     $326,820) on or about September 12, 2019; (3) € 144,882.00 (approximately USD

     $157,457) on or about September 16, 2019; and (4) € 37,073.45 (approximately USD

     $39,731) on or about November 7, 2019.

1.   On or about July 22, 2019, BY TRADE OU contracted with SAPPHIRE UNIVERSAL,

     LLP to purchase the Jig Grinder for€ 1,238,200 (approximately USD $1,338,184).

                                         11
J.   Between in or around July 2019 and in or around October 2019, BY TRADE OU

     initiated five wire transfer payments totaling € 1,238,200 (approximately USD

     $1,338,184) to SAPPHIRE UNIVERSAL, LLP for the Jig Grinder.

k. On or about August 30, 2019, a representative of SAPPHIRE UNIVERSAL, LLP and

     ANANICS, as a representative of CNC WELD, signed a final acceptance contract with

     Company A for the purchase of the Jig Grinder.

1. On or about September 24, 2019, Company A shipped the Jig Grinder to CNC WELD

     in Riga, Latvia.

m. On or about November 1, 2019, UZBALIS submitted to Latvian authorities false

     technical specifications for the Jig Grinder that contained a false signature of a

     Company A representative.

n. On or about December 6, 2019, MAMONOVS, on behalf of CNC WELD, transmitted

     an electronic communication to Company A with a letter MAMONOVS had signed on

     December 4, 2019, stating that CNC WELD was unable to proceed with the purchase

     of the Jig Grinder because the Jig Grinder could not fit in CNC WELD's plant and that

     CNC WELD therefore was transferring its right to sell the Jig Grinder to SAPPHIRE

     UNIVERSAL, LLP.

o. On or about December 6, 2019, SAPPHIRE UNIVERSAL, LLP submitted a request to

     Latvian customs seeking to reexport the Jig Grinder to Estonia.

p. On or about August 31, 2020, ANANICS told Latvian authorities that CNC WELD

     purchased the Jig Grinder to manufacture components for medical use.



                                         12
       q. On or about September 8, 2021, ROMANYUK caused another person to inform foreign

             authorities known to the Grand Jury that ROMANYUK was a contractor for BY

             TRADE OU who was facilitating a Russian University's purchase of the Jig Grinder.

       All in violation of Title 18, United States Code, Section 371.

                                         COUNT TWO
                            (Violation ofExp011 Control Reform Act)

       18.      Paragraphs 1 to 12 and 14 to 17 above are incorporated herein by reference.

       19.      On or about September 24, 2019, in the District of Connecticut and elsewhere, the

defendants MARAT MUSTAFAEV, ROMANYUK, ANANICS, UZBALIS, MAMONOVS,

DINARA MUSTAFAEVA, SAPPHIRE UNIVERSAL, LLP, CNC WELD, and BY TRADE OU,

aided and abetted by each other and by others known and unknown to the Grand Jury, did willfully

export and cause the export of the Jig Grinder from the United States, knowing the Jig Grinder

would be reexported to an end user in Russia, without first having obtained the required license or

authorization from the United States Department of Commerce.

       All in violation of Title 50, United States Code, Section 4819; Title 15, Code of Federal

Regulations, Sections 736.2 and 764.2; and Title 18, United States Code, Section 2.

                                       COUNT THREE
                            (Smuggling Goods from the United States)

       20.      Paragraphs 1 to 12 and 14 to 17 above are incorporated herein by reference.

       21.      On or about September 24, 2019, in the District of Connecticut and elsewhere, the

defendants MARAT MUSTAFAEV, ROMANYUK, ANANICS, UZBALIS, MAMONOVS,

DINARA MUSTAFAEVA, SAPPHIRE UNIVERSAL, LLP, CNC WELD, and BY TRADE OU,

together with others known and unknown to the Grand Jury, did willfully and knowingly expo1t

                                                13
and send from the United States, and attempt to export and send from the United States, a Jig

Grinder, contrary to law and regulation of the United States, specifically, Title 50, United States

Code, Section 4819 and Title 15, Code of Federal Regulations, Sections 736.2 and 764.2, and did

facilitate the transp01tation, concealment, and sale of said Jig Grinder, prior to exportation, acting

willfully and knowing the same to be intended for exportation contrary to law and regulation of

the United States, specifically, Title 50, United States Code, Section 4819 and Title 15, Code of

Federal Regulations, Sections 736.2 and 764.2.

       All in violation of Title 18, United States Code, Sections 554 and 2.

                                          COUNTFOUR
                           (International Money Laundering Conspiracy)

       22.      Paragraphs 1 to 12 and 14 to I 7 above are incorporated herein by reference.

       23.      From on or about November 21, 2018 through on or about November 7, 2019, the

exact dates being unknown to the Grand Jury, in the District of Connecticut and elsewhere, the

defendants MARAT MUSTAFAEV, ROMANYUK, ANANICS, UZBALIS, MAMONOVS,

DINARA MUSTAFAEVA, SAPPHIRE UNIVERSAL, LLP, CNC WELD and BY TRADE OU,

together with others known and unknown to the Grand Jury, did knowingly combine, conspire,

and agree with each other and with other persons known and unknown to the Grand Jury to commit

offenses against the United States, in violation of Title 18, United States Code, Section 1956, to

wit:

       a. To transport, transmit, and transfer and attempt to transpo1t, transmit, and transfer a

             monetary instrument and funds to a place in the United States to and through a place

             outside the United States with the intent to promote the carrying on of specified


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             unlawful activity, that is, smuggling goods from the United States, in violation of Title

             18, United States Code, Section 1956(a)(2)(A); and

       b. To knowingly conduct and attempt to conduct financial transactions affecting interstate

             and foreign commerce, which transactions involved the proceeds of specified unlawful

             activity, that is, smuggling goods from the United States, knowing that the transactions

             were designed in whole or in pru.i to conceal and disguise the nature, location, source,

             ownership, and control of the proceeds of the specified unlawful activity, and that while

             conducting and attempting to conduct such financial transactions, knew that the

             property involved in the financial transactions represented the proceeds of some form

             of unlawful activity, in violation of Title 18, United States Code, Section

             l 956(a)(l )(B)(i).

                                         Manner and Means

       24.      The manner and means used to accomplish the objectives of the conspiracy

included, among others, the following:

       a. MARAT MUSTAFAEV paid CNC WELD to purchase a Jig Grinder and its directors,

             ANANICS and MAMONOVS, falsely claimed that they would not reexp01i the Jig

             Grinder from Latvia;

       b. MARAT MUSTAFAEV and ROMANYUK used SAPPHIRE UNIVERSAL, LLP and

             BY TRADE OU to receive monetru.·y instruments and funds from Company B;

       c. MARAT MUSTAFAEV and ROMANYUK used SAPPHIRE UNIVERSAL, LLP's

             and BY TRADE OU's bank accounts in Europe to transfer monetary instruments and



                                                  15
             funds to a bank account in the United States to pay for the Jig Grinder to conceal the

             source, ownership, and location of the purchase monies; and

       d. UZBALIS agreed to file false specifications for the Jig Grinder with Latvian authorities

             in order to fraudulently cause authorities in Latvia to grant permission to expo1i the Jig

             Grinder from Latvia.

       All in violation of Title 18, United States Code, Section 1956(h).

                                           COUNT FIVE
                                          (False Statements)

       25.      Paragraphs 1 to 12 and 14 to 17 above are incorporated herein by reference.

       26.      On or about June 18, 2019, in the District of Connecticut and elsewhere, the

defendant ERIKS MAMONOVS did willfully and knowingly make and use a false writing and

document, knowing the same to contain a materially false, fictitious, and fraudulent statement and

entry in a matter within the jurisdiction of the United States Department of Conunerce, by creating

a document to be filed with the United States Department of Commerce, at Bridgeport,

Connecticut, in the District of Connecticut, stating that CNC WELD would be the end user of the

Jig Grinder and that the Jig Grinder would not be expo1ied from Latvia, well knowing and

believing that CNC WELD would not be the end user of the Jig Grinder and that the Jig Grinder

would be exported from Latvia.

       All in violation of Title 18, United States Code, Sections 100l(a)(3) and 2.




                                                  16
                                 FORFEITURE ALLEGATION
                                 (Export and Smuggling Offenses)

       27.     Upon conviction of any of the offenses alleged in Count Two and Count Three of

this Superseding Indictment, the defendants MARAT MUSTAFAEV, ROMANYUK, ANANICS,

UZBALIS, MAMONOVS, DINARA MUSTAFAEVA, SAPPHIRE UNIVERSAL, LLP, CNC

WELD, and BY TRADE OU shall forfeit to the United States of America, pursuant to Title 18,

United States Code, Section 981(a)(l)(C) and Title 28, United States Code, Section 2461(c), all

right, title, and interest in any and all property, real or personal, which constitutes or is derived

from proceeds traceable to the said offense, including but not limited to an interest up to the amount

of€ 340,000 in Nextpay Account No. LTxxxxxxxxxxxxxx1211, held in the name of BY TRADE

OU.

       28.     If any of the above-described forfeitable property, as a result of any act or omission

of the defendants, cannot be located upon the exercise of due diligence, has been transferred, sold

to or deposited with a third party, has been placed beyond the jurisdiction of the court, has been

substantially diminished in value or has been commingled with other property that cannot be

divided without difficulty, it is the intent of the United States, pursuant to Title 21, United States

Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

forfeiture of any other property of the defendants up to the value of the forfeitable property

described above.

       All in accordance with Title 18, United States Code, Section 981(a)(l)(C); Title 21, United

States Code, Section 853; Title 28, United States Code, Section 2461(c); and Rule 32.2(a) of the

Federal Rules of Criminal Procedure.


                                                 17
                                FORFEITURE ALLEGATION
                                 (Money Laundering Offense)

       29.     Upon conviction of the money laundering offense alleged in Count Four of this

Superseding Indictment, the defendants MARAT MUSTAFAEV, ROMANYUK, ANANICS,

UZBALIS, MAMONOVS, DINAR.A MUSTAFAEVA, SAPPHIRE UNIVERSAL, LLP, CNC

WELD, and BY TRADE OU shall forfeit to the United States of America, pursuant to Title 18,

United States Code, Section 982(a)(l), all right, title, and interest in any and all money and other

property involved in the offense, in violation of Title 18, United States Code, Section 1956(h), and

all property traceable to such property, including but not limited to an interest up to the amount of

€ 340,000 in Nextpay Account No. LTxxxxxxxxxxxxxx1211, held in the name of BY TRADE

OU.

       30.     If any of the above-described forfeitable property, as a result of any act or omission

of the defendants, cannot be located upon the exercise of due diligence, has been transferred, sold

to, or deposited with a third party, has been placed beyond the jurisdiction of the court, has been

substantially diminished in value, or has been commingled with other property which cannot be

divided without difficulty, it is the intent of the United States, pmsuant to Title 21, United States

Code, Section 853(p), as incorporated by Title 18, United States Code, Section 982(b), to seek

forfeiture of any other property of said defendants up to the value of the forfeitable property

described above.




                                                 18
       All in accordance with Title 18, United States Code, Section 982(a)(l); Title 21 , United

States Code, Section 853; and Rule 32.2(a) of the Federal Rules of Criminal Procedure.

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UNITED STATES OF AMERICA




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VANESSA ROBERTS AVERY
UNITED STATES ATTORNEY




RAHULKALE
ASSISTANT UNITED STATES ATTORNEY




ASSISTANT UNITED STATES ATTORNEY




MATTHEW ANZALDI
TRIAL ATTORNEY - DOJ NATIONAL SECURITY DIVISION




                                              19
